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                                                                  2024 Oct-14 AM 11:59
                                                                  U.S. DISTRICT COURT
                                                                      N.D. OF ALABAMA




               EXHIBIT 30
            Declaration of Clarence Hunter
    in Support of Motion for Preliminary Injunction
Docusign Envelope ID: ACAC63E6-06ED-4A1B-8CA4-3B17F6F28D71
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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION
             ALABAMA COALITION FOR
             IMMIGRANT JUSTICE; LEAGUE
             OF WOMEN VOTERS OF
             ALABAMA; LEAGUE OF WOMEN
             VOTERS OF ALABAMA
             EDUCATION FUND; ALABAMA
             STATE CONFERENCE OF THE
             NAACP; ROALD HAZELHOFF;
             JAMES STROOP; CARMEL
             MICHELLE COE; and EMILY
             JORTNER,
                      Plaintiffs,                            Case No. 2:24-cv-01254-AMM
                                                             Judge Anna M. Manasco
                      v.
             WES ALLEN, in his official capacity
             as Alabama Secretary of State; STEVE
             MARSHALL, in his official capacity
             as Alabama Attorney General; and
             JAN BENNETT, BARRY
             STEPHENSON, CINDY WILLIS
             THRASH, and SHEILA COX
             BARBUCK, in their official capacities
             as Chairs of Boards of Registrars of
             Elmore, Jefferson, Lee, and Marshall
             Counties;
                      Defendants.


                            DECLARATION OF CLARENCE HUNTER
                    IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
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                     Pursuant to 28 U.S.C. § 1746, I, Clarence Hunter, declare as follows:

                     1.      My name is Clarence Hunter. I am 63 years old. I was born and raised

            in Fort Mitchell, Alabama, and I have lived here my entire life. I am a United States

            citizen, and I have never been issued a noncitizen identification number. I am African

            American.

                     2.      I am retired now, but I used to work as a truck driver for forty years.

                     3.      I have been registered to vote in Russell County, Alabama since 1989.

            I always vote in federal, state, and local elections. I voted in the primary election

            earlier this year. Voting has always been important to me and my wife. My wife and

            I frequently go to the polling place together. My vote counts just like everyone else’s.

                     4.      I have never had any trouble with my voter registration and voting until

            this August.

                     5.      On August 15, 2024, I received a letter in the mail about my voter

            registration. The letter said I was going to be removed from the voter registration list

            if I didn’t re-register. This mailing included both a voter registration form and a

            removal request form. I filled out the voter registration form and took it in to the

            Russell County Board of Registrars’ office in person on August 17, 2024. I did not

            fill out or sign the removal request form at that time.

                     6.      A staff member at the Russell County Board of Registrars’ office took

            my voter registration form and checked my information against information he had
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            on his computer, including my driver’s license number. It showed on the screen that

            I was an “active” voter. I left the office.

                     7.      The same staff member at the Russell County Board of Registrars’

            office called me back the next day, August 18, 2024, and he told me I had another

            form I needed to sign. I went straight back to the office that day, and he said that I

            needed to sign the removal request form too. I asked him why I needed to sign the

            removal request form, because I was not trying to remove myself from the voter

            rolls. He said, “They said this form needs to be signed.” I didn’t fill out the removal

            request form, but I did sign it. I asked him why I was being removed from the voter

            rolls, and the staff member said he did not know.

                     8.      On October 10, 2024, I went online to check my voter registration

            status, and the website said that I was “active.”

                     9.      On October 11, 2024, I checked my voter registration status online

            again, and it still showed that I was “active.”

                     10.     I would still like to cast a ballot in the November election, but I am not

            sure I will be able to do so.

                     I declare under penalty of perjury that the foregoing is true and correct to the

            best of my knowledge.

                     Executed on October 12, 2024 in Fort Mitchell, Alabama.

                                                      ________________________
                                                           Clarence Hunter
